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                           UNITED STATES DISTRICT COURT
   9
                         SOUTHERN DISTRICT OF CALIFORNIA
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       MICHELLE NGUYEN, an individual;            Case No. 3:20-cv-02470-WQH-MMP
  12   DOMINIC BOGUSKI, an individual;
       JAY MEDINA, an individual; FRANK
  13   COLLETTI, an individual; JOHN
       PHILLIPS, an individual; PWGG, L.P.,
  14   a California Limited Partnership;
       DARIN PRINCE, an individual;               JUDGMENT
  15   NORTH COUNTY SHOOTING
       CENTER, INC., a California
  16   Corporation; FIREARMS POLICY
       COALITION, INC.; SAN DIEGO
  17   COUNTY GUN OWNERS PAC; and
       SECOND AMENDMENT
  18   FOUNDATION,
  19                                Plaintiffs,
  20         v.
  21   ROB BONTA, in his official capacity as
       Attorney General of California; and
  22   LUIS LOPEZ, Director of the Attorney
       General’s Department of Justice Bureau
  23   of Firearms,
  24                              Defendants.
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  26   HAYES, Judge:
  27         In accordance with the Court’s March 11, 2024, Order (ECF No. 69),
  28         IT IS HEREBY ORDERED that:


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   1         The Court declares that California Penal Code sections 27535 and 27540(f),
   2   and Defendants’ enforcement policies, practices, customs, and actions related to
   3   enforcement of California Penal Code sections 27535 and 27540(f), violate the right
   4   to keep and bear arms protected under the Second and Fourteenth Amendments to
   5   the United States Constitution;
   6         Defendants Rob Bonta, in his official capacity as Attorney General of the State
   7   of California, and Allison Mendoza, in her official capacity as Director of the Bureau
   8   of Firearms, and their officers, agents, servants, employees, and attorneys, and all
   9   other persons in active concert or participation with them who receive notice of this
  10   injunction, are hereby enjoined from enforcing California Penal Code sections 27535
  11   and 27540(f), and from enforcing Defendants’ enforcement policies, practices,
  12   customs, and actions related to enforcement of California Penal Code sections 27535
  13   and 27540(f).
  14         Enforcement of this judgment is stayed for thirty (30) days from its entry to
  15   facilitate an appeal.
  16   Dated: March 28, 2024
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